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             Lot 444




NEW YORK/NEW WAVE: FROM WALLS TO CANVAS PROPERTY FROM THE COLLECTION OF ROBERT PAGE

JEAN-MICHEL BASQUIAT | ISAIA'S FERTILITY

Lot Closed
October 2, 12:39 PM EDT


Estimate
30,000 - 40,000 USD
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Lot Details


Description
New York/New Wave: From Walls to Canvas
Property from the Collection of Robert Page
JEAN-MICHEL BASQUIAT
1960 - 1988
ISAIA'S FERTILITY


ink on paper
Sheet: 9 by 8½ in. (22.8 by 21.5 cm.)
Framed: 16 by 13¼ in. (40.6 by 33.7 cm.)
Executed circa 1980-85.


Condition Report


Provenance

Collection of Isaia Rankin (acquired directly from the artist)
Collection of Robert Page (acquired from the above in 1989)


Catalogue Note

Born to a Haitian father and a Puerto Rican mother, and raised in culturally-diverse Brooklyn in the 1960s and 70s, Basquiat was
painfully aware of the shadow that colonialism had cast over his personal heritage and the state of African-American people and
culture within the country. In spite of his own meteoric rise to fame and fortune in the 1980s, Basquiat encountered a great deal of
discrimination during his lifetime. As Keith Haring once recalled, “Being black and a kid and having dreadlocks, he couldn't even
get a taxi. But he could spend $10,000 in his pocket[1]." Whilst operating in an art world whose protagonists were almost
exclusively white, he made paintings filled with explicit textual and pictoral references to European colonization, the slave trade
and the commodities reliant upon it, and homage to African-American figures (such as Jesse Owens, Cassius Clay, Charlie Parker
and Miles Davis) that defied Western histories and its heroes.


The present work, Isaia’s Fertility¸ captures Isaia Rankin (who would come to be known by his first name), an African-American
fashion designer whose career was taking off in the 1980s just as the AIDS epidemic that would too soon claim his life in 1989
began to sweep the country. Isaia was among those remembered (alongside Perry Ellis, Halston, Franco Moschino, and others) by
the CFDA (Council of Fashion Designers of America) on the 28th annual World AIDS Day in 2016. Isaia was becoming known for his
sleek looks that at his peak were retailing at Barneys and specialty stores such as Charivari and Fred Segal, and worked alongside
several known figures that have since exploded as some of the best known fashion players in the industry. He appeared in Vogue
alongside a young Marc Jacobs in 1986 and was photographed by Robert Mapplethorpe between 1981-83.


Isaia and Jean-Michel Basquiat met in the downtown scene early in their respective careers, soon developing a friendship and
shared passion for the African-American creative movement in fashion and art. Isaia had asked Basquiat to create some artwork
to advertise Fertility, his store in the East Village, and it was from this request that the present drawing was conceived and later
gifted to Isaia. The promotional motive comes across via a repetition of the store name, copyright symbol, an address, phone
number, and hours of operation, along with “Clothing For Women,” however it is turned on its head by Basquiat’s signature style –
expressionistic crossing out of words, intermingling of text and drawing, and his signature crown below the central figure. While
many interpretations have been made about the crown motif, most often it is recognized for its relation to kings and greatness –
often in relationship to himself or others he admired.


Basquiat’s involvement with the fashion industry is well-documented: in the 1970s he developed a line of hand-painted clothing
under the label Man-Made, and one of his first exhibitions, it is said, took place in the store of Patricia Field. The artist walked down
the runway for Comme des Garçons in Rei Kawakubo’s Spring/Summer 1987 collection, and was well known to walk around in
paint-stained Armani suits and Issey Miyake military jackets. Fashion it seems, might have been a way that Basquiat was able to
personify his ambitions of greatness, or that of a king. In Keith Haring’s words, “he had to live up to being a young prodigy, which is
a kind of false sainthood[2].”


Upon Isaia’s tragic death, one of Isaia’s mentees, Robert Page, inherited this work and piece of history, and has kept it in his
personal collection ever since. On the 20th anniversary of Isaia’s death, Isaia’s story is being commemorated as the work appears
at auction and in public realm for the first time.


Click here to read more about Isaia Rankin and Robert Page.


[1] Keith Haring cited in: Michael Wines, ‘Jean-Michel Basquiat: Hazards of Sudden Success and Fame’, The New York Times, 27
September 1988, online
[2] “SAMO Is Dead,” New York Magazine, 26 September 1988, p. 3
